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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                            Case No. 18-cr-00028 (EGS)
 JARRELL HARRIS,


                Defendant.


                 THE DISTRICT OF COLUMBIA’S SECOND RESPONSE
                  TO THE COURT’S AUGUST 6, 2018 MINUTE ORDER
I.     Whether There Have Been Any Additional Erroneous Releases Since the August 24,
       2018 Filing.

       The District of Columbia Department of Corrections (DOC) filed a Status Report on August

24, 2018. From August 24, 2018 to September 6, 2018, the DOC Inmate Record Office processed

2,483 transactions, 487 of which were releases. As DOC explained in its September 6, 2018 letter to

Chief Judge Beryl A. Howell and this Court, DOC has learned of two additional erroneous releases.

DOC immediately commenced investigations upon discovery of each incident and will be taking

corrective action, including disciplinary action.

II.    The Status of Hiring Additional Record Office Staff

       DOC has filled three additional Legal Instrument Examiner (LIE) positions. Two LIEs

started work on September 4, 2018. A third LIE has completed a background check and is

undergoing drug screening for final security clearance. The Record Office currently has a total of 32

employees.

III.   The Status of Hiring an Independent Consultant to Study and Provide
       Recommendations on Improving Record Office Operations and Procedures

       The Moss Group (TMG) continues its analysis, studying DOC processes and operations.
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TMG will provide a draft report by September 30, 2018, and the report will be finalized by October

30, 2018.

IV.     Whether DOC Has Determined That Additional Remedial Action Is Necessary and If
        So, the Status of Such Remedial Action

        DOC continues to provide ongoing training by Record Office supervisors to line staff. In

addition to this training, DOC is preparing comprehensive Strategic Planning Sessions on Team

Building, Professional Development and Best and Promising Practices in Detention and Release

Processes, which will be scheduled on Saturdays at DOC’s new Center for Professional

Development and Learning, at a time when all Record Office staff can attend.

V.      Whether DOC Receives Adequate Financial Resources from the District of Columbia

        The District of Columbia continues to provide adequate financial resources to DOC for this

initiative.

Dated: September 10, 2018.         Respectfully submitted,

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                    Counsel for District of Columbia Department of Corrections




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